                         Case 6:15-bk-08570-KSJ            Doc 157      Filed 06/12/18      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                           PRO MEMO

                                                                 06/12/2018 11:00 AM
                                                                 COURTROOM 6A, 6th Floor
HONORABLE KAREN JENNEMANN
CASE NUMBER:                                                     FILING DATE:
6:15-bk-08570-KSJ                        7                           10/08/2015
Chapter 7
DEBTOR:                Benito Rodriguez
                       Maria Rodriguez
DEBTOR ATTY:           Hernan Rodriguez
TRUSTEE:               Arvind Mahendru
HEARING:
1) Motion by Trustee to Sell Property Free and Clear of Liens.
Property description: 1422 Canal Point (Doc #150)
Response by US Bank to Motion to Sell Property Free and Clear
of Liens (Doc #152)
2) Motion by US Bank for Relief from Stay re: 1422 CANAL
POINT ROAD (Doc #133)
Response by Trustee to Motion for Relief from Stay (Doc #137)
Agreed Order Abating Motion For Relief From Stay of U.S. Bank
Trust, N.A., as Trustee for Lsf9 Master Participation Trust for 60
Days (Doc #147)
Note: Discharged 2/22/18
Converted from Chapter 13 to 7 on 11/15/17
Prior Case: 14-03288, Chapter 13 filed in Florida Middle
Bankruptcy Court on 03/23/2014 , Dismissed for Other Reason
on 07/29/2015.

APPEARANCES::
Arvind Mahendru: Trustee
Stefan Beuge: US Bank Atty

RULING:
1) Motion by Trustee to Sell Property Free and Clear of Liens.Property description: 1422 Canal Point (Doc #150) - Agreed order
denying was signed in open court;

2) Motion by US Bank for Relief from Stay re: 1422 CANAL POINT ROAD (Doc #133) - Granted: Order by Beuge.

  (Pro by LL)
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.
                                    Case Number 6:15-bk-08570-KSJ                    Chapter 7
